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           EXHIBIT 3
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

  ___________________________________
                                      )
  BOND PHARMACY, INC., d/b/a AIS      )
  HEALTHCARE,                         )
                                      )
                    Plaintiff,        )                Case No. 1:22-cv-01343-CMH-IDD
                                      )
              v.                      )
                                      )
  ANTHEM HEALTH PLANS OF              )
  VIRGINIA, INC., d/b/a ANTHEM        )
  BLUE CROSS AND BLUE SHIELD,         )
                                      )
                    Defendant.        )
  ___________________________________ )

                    JOINT MOTION FOR EXTENSION OF DEADLINES

        Plaintiff Counter-Defendant Bond Pharmacy, Inc., d/b/a AIS Healthcare (“AIS”), and

 Defendant-Counterclaimant Anthem Health Plans of Virginia, Inc. d/b/a Anthem Blue Cross

 And Blue Shield (“Anthem,” collectively the “Parties”), respectfully move this Court for a brief

 extension of the deadlines in this litigation for reasons stated in the Parties’ Memorandum in

 Support of this Motion.




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 Dated: June 28, 2023




 By: /s/ Paul A. Werner                    By: /s/ Michael E. Lacy
 Paul A. Werner                            Michael E. Lacy
 Dave Thomas                               Sarah E. Siu
 Imad Matini                               Virginia Bell Flynn
 SHEPPARD MULLIN RICHTER &                 Callan G. Stein
 HAMPTON LLP                               Harry J. Liberman
 2099 Pennsylvania Avenue, N.W., Suite 100 TROUTMAN PEPPER HAMILTON SANDERS
 Washington, D.C. 20006                    LLP
 Telephone: 202-747-1931                   P.O. Box 1122
 pwerner@sheppardmullin.com                Richmond, Virginia 23218-1122
 dthomas@sheppardmullin.com                Telephone: (804) 697-1326
 imatini@sheppardmullin.com                michael.lacy@troutman.com
                                           sarah.siu@troutman.com
 Attorneys for Plaintiff Counter-Defendant virginia.flynn@troutman.com
 Bond Pharmacy d/b/a AIS Healthcare        callan.stein@troutman.com
                                           harry.liberman@troutman.com

                                       Attorneys for Defendant-Counterclaimant Anthem
                                       Health Plans of Virginia, Inc. d/b/a Anthem Blue
                                       Cross And Blue Shield




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

  ___________________________________
                                      )
  BOND PHARMACY, INC., d/b/a AIS      )
  HEALTHCARE,                         )
                                      )
                    Plaintiff,        )                  Case No. 1:22-cv-01343-CMH-IDD
                                      )
              v.                      )
                                      )
  ANTHEM HEALTH PLANS OF              )
  VIRGINIA, INC., d/b/a ANTHEM        )
  BLUE CROSS AND BLUE SHIELD,         )
                                      )
                    Defendant.        )
  ___________________________________ )


                      [Proposed] ORDER GRANTING JOINT MOTION
                            FOR EXTENSION OF DEADLINES

        Having considered Plaintiff Counter-Defendant Bond Pharmacy, Inc., d/b/a AIS

 Healthcare’s (“AIS’s”) and Defendant-Counterclaimant Anthem Health Plans of Virginia, Inc.

 d/b/a Anthem Blue Cross And Blue Shield’s (“Anthem’s”), (collectively the “Parties’ ”) Joint

 Motion for Extension of Deadlines, it is hereby

        ORDERED that the Joint Motion is GRANTED; and it is further

        ORDERED that that the remaining deadlines shall be amended to:

               September 12, 2023            Close of fact discovery

               September 22, 2023            Deadline for expert disclosures for the party with the
                                             burden of proof

               October 6, 2023               Deadline for expert disclosures for responsive
                                             experts

               October 20, 2023              Deadline for rebuttal expert disclosures for the party
                                             with the burden of proof


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              September 1, 2023       Deposition notices deadline

              November 15, 2023       Close of expert discovery

              November 22, 2023       Deadline for filing list of witnesses to be called at
                                      trial, written stipulation of uncontested facts, and
                                      copies of trial exhibits

              November 29, 2023       Objections to opposing party’s witness
                                      and exhibit lists deadline

              December 1, 2023        Summary judgment motion deadline



 Dated: ______________                                      ________________________
                                                          The Honorable Claude M. Hilton
                                                              United States District Judge




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